                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00204-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                      ORDER
                                                )
 BOGGS PAVING, INC.                             )
 CARL ANDREW BOGGS III                          )
 KEVIN HICKS                                    )
 GREG MILLER                                    )
 GREG TUCKER                                    )
 STYX CUTHBERTSON TRUCKING                      )
 COMPANY, INC.                                  )
 JOHN CUTHBERTSON                               )
 ARNOLD MANN,                                   )
                                                )
                 Defendants.                    )



       THIS MATTER is before the court on defendants’ Motion for Coordinated Sentencing

Date (#222) and the government’s Response. For cause, defendants cite the need to determine the

amount of loss in order to determine the appropriate advisory sentencing guidelines.

       As to Defendant Mann, who has secured a Rule 11(c)(1)(C) plea, his sentencing is set for

November 10, 2015, and a loss amount is not necessary for entry of a sentence. As to the remaining

defendants, the court agrees that a loss amount needs to be determined – those defendants,

however, have all been calendared for sentencing on the same day, November 23, 2015, which

will facilitate determining a loss amount in advance of all such sentencings, as follows:

       (1)     Each defendant and the government shall file a brief not longer than 5 pages on the

issue of loss amount not later than November 13, 2015. The court will consider those briefs in

advance of sentencing. At 9 a.m. on November 23, 2015, a loss amount hearing will be conducted



       Case 3:13-cr-00204-MOC          Document 228        Filed 11/03/15      Page 1 of 3
and concluded not later than 9:30 a.m. Since the issue of loss amount is a common concern as to

all defendants, defendants will have 10 minutes to make any additional arguments as to loss

amount and the government will then have 10 minutes, with the final 10 minutes reserved for

questioning by the court.

       (2)     The court has scheduled 30 minutes for each sentencing. The court understands

that there are numerous unresolved objections to the presentence reports and that the government

suggests in its Response spreading out these proceedings over multiple days. While this case is

perhaps the best lawyered criminal case, it is not the most complex. The court believes that setting

aside a full day of court to sentence six defendants is an appropriate allocation of resources. To

streamline matters further, counsel shall file in each case a joint pleading summarizing each

objection in the following manner:

       1.      A one sentence statement of the Objection, citing page and paragraph of the PSR.
               A.     a one sentence reason for such objection.
               B.     a one sentence response to such objection
               C.     space left for pretrial services to provide a brief response.

Such filing shall be made not later than November 13, 2015, and a courtesy copy of such filing

shall be delivered that day to the pretrial services officer who completed the presentence report.

The court suggests providing such officer with a Word document. Pretrial services shall review

each objection and provide the court with an equally brief confidential recommendation as to each

objection in advance of sentencing.

       (3)     All letters in support and sentencing memoranda shall be filed not later than

November 13, 2015. Counsel are reminded that the provision of the Local Criminal Rules which

allows sentencing memoranda to be filed under seal does not extend to exhibits, including letters

of support, which are public record. If there is a letter that contains information of a personal

nature, such as sensitive medical information, counsel may apply for sealing.




      Case 3:13-cr-00204-MOC           Document 228         Filed 11/03/15      Page 2 of 3
         (4)    As there is a great deal of time between this Order and the November 23, 2015,

sentencings, counsel are encouraged to use that time to resolve as many – if not all – objections in

advance of the sentencing hearings. Indeed, as this court has repeatedly stated during other

sentencing proceedings, it court gives great weight to proposed resolutions where the

representative of the people joins in and endorses such resolution.



                                             ORDER

         IT IS, THEREFORE, ORDERED that defendants’ Motion for Coordinated Sentencing

Date (#223) is DENIED AS MOOT inasmuch as a coordinated sentencing schedule is already in

place.

         For defendants 1, 2, 3, 4, 5, and 7, the Clerk of Court is instructed to: (1) docket a deadline

of November 13, 2015, for the filing of briefs on (a) loss amount, (b) a joint schedule of objections,

and (c) for sentencing memoranda/letters; (2) notice Oral Arguments for November 23, 2015, at

9:00 a.m. on the issue of Loss Amount; and (3) send a copy of this Order to USPO Baker.




 Signed: November 3, 2015




         Case 3:13-cr-00204-MOC           Document 228         Filed 11/03/15      Page 3 of 3
